Case 2:16-cv-00881-KM-ESK Document 283 Filed 01/09/20 Page 1 of 2 PageID: 8435




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY




IN RE MERCEDES-BENZ EMISSIONS                       Civil Action: 16-cv-881 (KM) (ESK)
LITIGATION



               MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

       Pursuant to Rule 101.1(c) of the Local Civil Rules of the United States District Court for

the District of New Jersey, I, Lucas C. Townsend, a member in good standing of the bar of this

Court, hereby move for an Order allowing the admission pro hac vice of Jason R. Meltzer, Derek

K. Kraft, and Jenny L. Grantz. Filed simultaneously with this motion are the following: a

statement pursuant to Local Civil Rule 7.1(d)(4) that no supporting brief is necessary; a

declaration from myself supporting the motion; declarations from each of the applicants for

admission; a proposed order granting the motion; and a certificate of service. Counsel for all

parties consent to this motion.



Dated: January 9, 2020                          Respectfully Submitted,


                                                GIBSON, DUNN & CRUTCHER LLP


                                                By: s/     Lucas C. Townsend
                                                           Lucas C. Townsend

Troy M. Yoshino                                 Daniel W. Nelson
 admitted pro hac vice                           admitted pro hac vice
Matthew J. Kemner                               Geoffrey M. Sigler
 admitted pro hac vice                            admitted pro hac vice
Eric J. Knapp                                   Lucas C. Townsend
 admitted pro hac vice                          Chantale Fiebig
Case 2:16-cv-00881-KM-ESK Document 283 Filed 01/09/20 Page 2 of 2 PageID: 8436




Squire Patton Boggs (US) LLP                  admitted pro hac vice
275 Battery Street, Suite 2600              Gibson, Dunn & Crutcher LLP
San Francisco, CA 94111                     1050 Connecticut Avenue, N.W.
Tel: (415) 743-2441                         Washington, D.C. 20036-5306
Fax: (415) 989-0932                         Tel: (202) 887-3731
                                            Fax: (202) 530-4254

              Attorneys for Defendants Mercedes-Benz USA, LLC and Daimler AG




                                           2
